Name «& G4SE.2:19-mj-05082-DUTY Document 10 | Filed 12/05/19 Page 1of3 Page ID #:28

SEE ATTACHMENT, RE ORDER SIGNED BY
JUDGE COTE

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

United States of America CASE NUMBER:
2:19-mj-05082-DUTY-1
PLAINTIFF(S)
V.
Virgil Griffith FINAL COMMITMENT AND WARRANT OF REMOVAL
Southern District of New York
DEFENDANT(S). | At New York, New York
(City)

 

 

To: United States Marshal for the Central District of California
The above-named defendant is hereby remanded to your custody and you are hereby ORDERED to remove him/her forthwith, along
with a certified copy of this Commitment, to the custodian of a place of confinement within the District of Origin, approved by the

Attorney General of the United States, where the defendant shall be received and safely kept until discharged in due course of law.

This defendant was arrested in this District after the filing of a(n):

O Indictment Oo Information ov Complaint Oo Order of court
Ol Pretrial Release O Probation O Supervised Release O Violation Notice
Violation Petition Violation Petition Violation Petition

charging him or her with (brief description of offense) Title 50, United States Code Section 1705; Executive Orders 13466
and 13722. Title 18, United States Code Section 3238 (Conspiracy to Violate the International Emergency Economic Powers Act)

Olin violation of Title United States Code, Section (s)

 

Oi violation of the conditions of his or her pretrial release imposed by the court.

O in violation of the conditions of his or her supervision imposed by the court.
The defendant has now:

mf duly waived arrival of process.

duly waived identity hearing before me on _12/2/2019
x duly waived preliminary hearing before me on _12/2/2019
O

 

 

 

 

 

 

 

had a preliminary hearing before me on , and it appears that there is probable cause
to believe that the offense so charged has been committed and that the defendant has committed it.
Ohad an identity hearing before me on , and it appears that the defendant is the person
named as charged, and:
O Bail has been set at $ but has not been posted.
O No bail has been set.
OO Permanent detention has been ordered. |
OU Temporary detention has been ordered. We
December 5, 2019 | Hon. Maria A. Audero
Date United States Magistrate Judge
RETURN
Received this commitment and designated prisoner on , and on :
committed him to and left with the custodian at the same time

 

a certified copy of the within temporary commitment.
United States Marshal, Central District of California

 

 

Date Deputy

 

M-15 (01/09) FINAL COMMITMENT AND WARRANT OF REMOVAL
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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Molto Building
One Saint Andrew ‘s Plaza
New York, New York 10007

December 4, 2019

BY EMAIL

Honorable Denise L. Cote

United States District Judge, Part I
Southern District of New York

500 Pearl Street — Room 1910

New York, New York 10007
Cotenysdchambers@nysd.uscourts.gov

Re: United States v. Virgil Griffith, 19 Mag, 10987

Dear Judge Cote:

The Government respectfully requests that the Court, sitting in Part I, stay the release
order pertaining to defendant Virgil Griffith that was issued by a magistrate judge in the Central
District of California on December 2, 2019. The Government requests that the release order be
stayed until the defendant is transferred to this District, pursuant to Rule 5(c)(3), so that the
parties can be heard on a date and time set by the Court with jurisdiction over the underlying
matter.

On November 21, 2019, Griffith was charged in a complaint (the “Complaint”) signed by
the Honorable Sarah Netburn, Magistrate Judge for the Southern District of New York, with
conspiring to violate the International Emergency Economic Powers Act (“IEEPA”), Title 50,
United States Code, Sections 1705. A copy of the Complaint, which provides the factual
background underlying the charges in this case, is attached hereto as Exhibit A. As alleged in the
Complaint, the defendant, an expert in cryptocurrency who lives in Singapore, traveled to North
Korea after the United States Department of State denied his request to do so. In North Korea,
Griffith gave a presentation that he developed for the conference on technologies that he knew
could be used to evade sanctions.

On November 28, 2019, Griffith was arrested in the Los Angeles International Airport on
route to Baltimore, Maryland. Because the Central District of California (“CDCA”) was closed
on November 28 and 29, 2019, Griffith first appeared in CDCA on December 2, 2019. At
Griffith’s presentment, the Government sought detention and extradition to SDNY and the
defendant sought bail. The Honorable Maria A. Audero, Magistrate Judge for the Central District
of California, ordered the defendant bailed on certain conditions. See United States v. Virgil
Griffith, 19 Mj. 05082 (C.D.Ca.) (the “Release Order”). At the request of the Government,
Magistrate Judge Audero stayed the Release Order for one week, or until December 9, 2019, to
enable the Government to seek a further stay of the Release Order from this Court until the
defendant is transferred to the Southern District of New York.

 

 

 

 

 
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Hon, Denise L. Cote Page 2
December 4, 2019

As noted, the Government seeks a stay of the Release Order until such time as the
defendant is transferred to this district pursuant to Rule 5(c)(3). This Court, as “the court having
original jurisdiction over the offense,” has jurisdiction over the Government’s motion for
revocation of the Release Order. See 18 U.S.C. § 3145(a)(1); United States v. El-Edwy, 272 F.3d
149, 153 (2d Cir. 2001) (holding that, for purposes of a motion under § 3145(a) for revocation of
a release order issued by a magistrate judge in another district where the defendant was arrested,
“the court having original jurisdiction over the offense” is “the district in which the prosecution
of the offense is pending,” and noting that “[w]ith respect to the decision whether to detain or
conditionally release the defendant, . . . section 3145(a) makes clear that the ultimate authority
lies with the district that has the primary interest in the question — the district in which the
prosecution is pending”); see also, e.g., United States v. Dominguez, 509 F. App’x 28, 29-30 (2d
Cir. 2013) (affirming revocation, by a district court in this District, of an order issued bya
magistrate judge in the Southern District of Florida releasing a defendant who had been indicted
on narcotics-related charges in this District).

The Government intends to make an application appealing the Release Order as soon as
Griffith arrives in this District. Accordingly, in light of the foregoing, the Government
respectfully requests that the Release Order be stayed pending the defendant's transfer to this
district, so that this Court can hear from the parties regarding the Government’s application.

Respectfully submitted,

GEOFFREY S. BERMAN
United States Attorney for the
Southern Distrizemf New York

An

   

Kyle /A, Wirshba / Kimberly Ravener /
Michael Krouse

Assistant United States Attorneys
(212) 637-2493 / 2358 / 2279

Ce: Brian Klein, Esq.
Attorney for Virgil Griffith (By Email)

 

 
